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                              No. 24-30645

                 United States Court of Appeals
                      for the Fifth Circuit
                       ________________
    ABBVIE, INCORPORATED; ALLERGAN, INCORPORATED; DURATA
  THERAPEUTICS, INCORPORATED; ABBVIE PRODUCTS, L.L.C.; APTALIS
       PHARMA US, INCORPORATED; ALLERGAN SALES, L.L.C.;
                     PHARMACYCLICS, L.L.C.,
                          Plaintiffs-Appellants,
                                      v.
              LIZ MURRILL, IN HER OFFICIAL CAPACITY AS
                  ATTORNEY GENERAL OF LOUISIANA,
                           Defendant-Appellee,

               LOUISIANA PRIMARY CARE ASSOCIATION,
                      Intervenor Defendant-Appellee.
                            __________________
  On Appeal from the United States District Court for the Western
              District of Louisiana, Lafayette Division,
    No. 6:23-cv-01307-RRS-CBW, Judge Robert R. Summerhays
                          __________________
                   BRIEF FOR APPELLANTS
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             CERTIFICATE OF INTERESTED PERSONS
                AbbVie, et al. v. Murrill, No. 24-30645

     The undersigned counsel of record certifies that the following listed

persons and entities as described in the fourth sentence of Fifth Circuit

Rule 28.2.1 have an interest in the outcome of this case.                 These

representations are made in order that the judges of this Court may

evaluate possible disqualification or recusal:

Plaintiffs-Appellants

     AbbVie Inc. (a Delaware corporation); Allergan, Inc. (a Delaware

corporation); Durata Therapeutics, Inc. (a Delaware corporation); AbbVie

Products LLC (a Georgia limited liability company); Aptalis Pharma US,

Inc. (a Delaware corporation); Pharmacyclics, LLC (a Delaware limited

liability company); Allergan Sales, LLC (a Delaware limited liability

company).

     Allergan, Inc. is 100% owned by Allergan Finance, LLC; Durata

Therapeutics, Inc. is 100% owned by Allergan W.C. Holding Inc.; AbbVie

Products LLC is 100% owned by AbbVie Inc.; Aptalis Pharma US, Inc. is

100% owned by Allergan Sales, LLC; Pharmacyclics LLC is 100% owned

by AbbVie Inc.; Allergan Sales, LLC is 51.8% owned by Allergan
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Holdings, Inc. and 48.2% owned by Allergan Holdco US, Inc.; and AbbVie

Inc. is the ultimate parent of each of the other aforementioned entities.

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     Louisiana Primary Care Association.




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           STATEMENT REGARDING ORAL ARGUMENT
     Pursuant to Federal Rule of Appellate Procedure 34(a) and Fifth

Circuit Rule 28.2.3, Appellants respectfully submit that oral argument

will assist the Court in resolving this appeal.           This appeal presents

important questions about the extent to which state legislatures may

rework the federal 340B scheme to their own ends—questions courts and

legislatures are grappling with nationwide.




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                   JURISDICTIONAL STATEMENT
     The district court had subject-matter jurisdiction under 28 U.S.C.

§1331 because AbbVie brings federal constitutional challenges to a

Louisiana state law. ROA.69-ROA.70 (¶1). This Court has appellate

jurisdiction because AbbVie is appealing a final decision that disposed of

all claims against all parties. 28 U.S.C. §1291. AbbVie timely filed its

notice of appeal on October 8, 2024, within 30 days of the district court’s

order of September 30, 2024. Fed. R. App. P. 4.




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                        ISSUES PRESENTED

     In 1992, Congress created the 340B Program.                 That Program

requires drug manufacturers, as a condition of their participation in

federal Medicaid and Medicare Part B, to offer certain of their drugs at

significant discounts to a list of specifically enumerated low-cost

healthcare providers. Louisiana’s Act 358 grafts new requirements onto

that federal statute by compelling AbbVie to give discounted drugs to

entities not enumerated in the statute, under more onerous conditions

than Congress requires—and in exchange for nothing.                  The issues

presented are:

     1. Does Act 358 intrude into an exclusive federal field and conflict

        with federal law by engrafting new requirements onto the

        federal 340B statute, expanding manufacturers’ obligations

        beyond the scope delineated by Congress, and changing the

        conditions of participation in federal healthcare programs?

     2. Does Act 358 compel manufacturers to transfer their products at

        significant discounts to private pharmacies for no public use, in

        violation of the Takings Clause?




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3. Was the intervention of Louisiana Primary Care Association in

  this litigation improper?




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                              INTRODUCTION
     The district court’s order granting summary judgment to the

Attorney General should be reversed. AbbVie seeks to enjoin Louisiana

from enforcing its recently enacted Act 358, called the “Defending

Affordable Prescription Drug Costs Act.” In substance, Act 358 compels

AbbVie to transfer its drugs to retail pharmacies at a legislatively set

price, with no corresponding public use. In so doing, Louisiana thrusts

itself into a wholly federal healthcare regime, where it seeks to revise and

reverse Congress’s policy decisions in the 340B Program.

     The federal 340B Program requires pharmaceutical manufacturers

that participate in Medicaid and Medicare Part B to offer their drugs at

significant discounts to a list of certain government-approved healthcare

providers for the benefit of low-income and uninsured patients. See 42

U.S.C. §256b. The 340B statute specifically enumerates the types of

providers to which manufacturers must offer these sub-competitive

prices (called “covered entities”).        See id. §256b(a)(4).      This list is

exclusive: The statute does not require manufacturers to offer these

prices to any other entity.




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     Act 358 arises out of a long-running dispute over the extent of

manufacturers’ obligations under the federal 340B Program to provide

340B-priced drugs to commercial pharmacies, like Walgreens and CVS,

who see the Program’s significant discounts as an arbitrage opportunity.

Historically, 340B Program guidance recommended that covered entities

be permitted to contract with one outside pharmacy (a “contract

pharmacy”) if the entity itself lacked an in-house pharmacy to dispense

medication.    Recently, covered entities (supported by the U.S.

Department of Health and Human Resources (HHS)) have taken the

position that they may contract with unlimited pharmacies to buy drugs

at the 340B discount and have the pharmacies sell them at full price to

their customers—thereafter, splitting the arbitrage profits.

     Because Congress intended 340B revenues to flow to needy

patients—not large, national pharmacy chains—manufacturers like

AbbVie have adopted policies with certain limitations on the transfer or

sale of their 340B-priced drugs to commercial pharmacies.                Federal

courts of appeals are unanimous that the 340B statute empowers

manufacturers to adopt such policies. See Sanofi Aventis U.S. LLC v.




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HHS, 58 F.4th 696, 707 (3d Cir. 2023); Novartis Pharms. Corp. v.

Johnson, 102 F.4th 452, 464 (D.C. Cir. 2024).

     Faced with this reality, several states, including Louisiana, enacted

statutes like Act 358 seeking to revise federal law. Louisiana’s law—

which went into effect in August 2023—instructs that a manufacturer

“shall not deny, restrict, prohibit, or otherwise interfere with … the

acquisition of a 340B drug by, or delivery of a 340B drug to, a pharmacy

that is under contract with a 340B entity.” La. Stat. Ann. §40:2884(A).

The Louisiana statute thus seeks to change the requirements for

participating in the federal Program by forcing manufacturers to expand

the types of entities to which they are required to transfer their drugs at

the federal discounted price.       AbbVie sought to enjoin Act 358 on

preemption and takings grounds, but the district court granted summary

judgment to the State.

     The    district   court’s   decision      was     erroneous;    Act   358   is

unconstitutional twice over.

     First, Act 358 intrudes into a carefully balanced federal field of

interdependent federal healthcare programs and, by upsetting that




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balance, conflicts with Congress’s aims in enacting the 340B Program.

The Act is therefore preempted.

     Second, Act 358 effectuates a physical taking of private property.

It forces AbbVie to transfer discounted products to other private parties

(commercial pharmacies) against its will. That kind of private-to-private

wealth transfer can never serve a “public use.” Accordingly, the Act

offends the Fifth Amendment’s Takings Clause.

                       STATEMENT OF THE CASE

     A.     The 340B Pricing Program.

     In 1992, Congress enacted Section 340B of the federal Public

Health Service Act, establishing what is commonly called the “340B

Program.”    See 42 U.S.C. §256b.          Put simply, the statute requires

pharmaceutical manufacturers to offer their drugs to certain healthcare

providers at significantly discounted prices. Id.

     The Program works as follows: In exchange for coverage under the

federal Medicaid and Medicare Part B programs, the statute requires

manufacturers to “offer” their products to each “covered entity … for

purchase at or below the applicable ceiling price.” Id. §256b(a)(1); 42

U.S.C. §1396r-8(a)(5)(A). The “ceiling price” is set by a statutory formula


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and results in massive discounts, ranging from 23.1% to more than 99.9%

of the average market price for a given drug—often requiring that

manufacturers sell their medicine for as little as one penny per unit.

42 U.S.C. §1396r-8(c); 42 U.S.C. §256b(a)(1). The “covered entit[ies]”

include, among others, federally qualified health centers and rural

hospitals that (ostensibly) serve low-income communities.              42 U.S.C.

§256b(a)(4). The statutorily defined list of “covered entit[ies]” does not

include contract pharmacies or any for-profit entity. Id.

     The federal 340B statute imposes several substantive rules that

define the scope of manufacturers’ obligations and are designed to protect

against abuse.

     First, the statute prohibits covered entities from transferring or

selling drugs they purchased at a 340B discount to anyone who is not a

patient of the entity—a practice referred to as “diversion.”                  Id.

§256b(a)(5)(B). By limiting who can access manufacturers’ drugs at the

discounted 340B price—limiting sales only to covered entities and their

patients—Congress attempted to ensure that the Program did not

become a buy-low sell-high scheme for those with a profit motive.




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     Second, covered entities may not generate a state’s request for a

Medicaid rebate on a unit of drug purchased at a 340B discount—those

are forbidden “duplicate discounts.” Id. §256b(a)(5)(A)(i). Otherwise, a

manufacturer would be required to provide two discounts or rebates on

the same unit of product.

     Third, covered entities must permit both the Secretary of HHS and

manufacturers to audit any of their records that directly pertain to the

entity’s compliance with the prohibitions on diversion and duplicate

discounting. Id. §256b(a)(5)(C).

     The 340B statute does not require covered entities to share with

patients any part of the discounts they receive from manufacturers, and

they rarely do voluntarily. Instead, covered entities overwhelmingly

charge patients and their insurance full price for the drugs that they

acquire at the discount and pocket the difference (known as “spread”). As

further explained below, patients are deprived of any direct benefit from

the 340B Program when a covered entity uses a contract pharmacy.

Covered entities provide discounts to uninsured and indigent patients

less than 1.5% of the time when drugs are dispensed through contract

pharmacies. Martin, Rory, White Paper: Are Discounts in the 340B Drug


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Discount Program Being Shared With Patients at Contract Pharmacies,

at 9 (IQVIA Mkt. Access Ctr. of Excellence 2022).

     Congress vested HHS with authority to enforce and administer the

340B Program. Astra USA, Inc. v. Santa Clara Cnty., Cal., 563 U.S. 110,

120-21 (2011). The agency may impose civil monetary penalties at a rate

of $7,034 for each time a manufacturer charges a covered entity above

the ceiling price. 42 U.S.C. §256b(d)(1)(B)(vi) (inflation-adjusted). HHS

also may sanction covered entities for diversion and duplicate

discounting. Id. §256b(d)(2)(B)(v).

     HHS’s enforcement authority is exclusive. Astra, 563 U.S. at 117.

In Astra, the Supreme Court held that, by vesting enforcement authority

solely in HHS, Congress withheld from covered entities a private right of

action     to   enforce   the   340B      Program’s     requirements       against

manufacturers. Id. “[S]preading the enforcement burden” of the 340B

Program “is hardly what Congress contemplated when it ‘centralized

enforcement in the government.’” Id. at 119. Rather, “Congress made

HHS administrator of both the Medicaid Drug Rebate Program and the

340B Program” because “the interdependent nature of the two programs’

requirements means that an adjudication of rights under one program


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must proceed with an eye towards any implications for the other.” Id. at

120.    As a result, auxiliary enforcement mechanisms beyond those

contemplated in the statute would “undermine the agency’s efforts to

administer both Medicaid and § 340B harmoniously and on a uniform,

nationwide basis.” Id.

       As part of its exclusive enforcement scheme, HHS’s component

agency, the Health Resources and Services Administration (HRSA) has

established both an informal “good faith” conferral process and a more

formal process referred to as Administrative Dispute Resolution (“ADR”).

If the good-faith conferral process does not resolve the dispute, the next

step is to either ask HRSA to enforce the statute or, for certain specified

claims, proceed through ADR. 85 Fed. Reg. 80632, 80638 (Dec. 14, 2020);

89 Fed. Reg. 28643 (Apr. 19, 2024). HRSA’s ADR rule sets out a process

for initiating a claim, 42 C.F.R. §10.21(b), (d), describes the types of

claims permitted, id. §10.21(a), the establishment of an “ADR Panel” that

will adjudicate the claim, id. §10.20, and the specific procedures that the

ADR Panel will follow, id. §§10.21-24. Covered entities have used this

process, including to raise disputes with manufacturers over contract




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pharmacies’ role in the 340B program. See, e.g., PhRMA v. Landry, No.

6:23-cv-00997-RRS-CBW (ECF No. 21-7).

     B.    Contract Pharmacies.

           1.   HRSA’s Contract Pharmacy Guidance.

     In 1996, HRSA issued guidance suggesting that covered entities

lacking an in-house dispensing pharmacy should be permitted to contract

with a single outside pharmacy to dispense 340B-priced drugs to their

patients. 61 Fed. Reg. 43549, 43550-55 (Aug. 23, 1996). But to avoid

unlawful diversion, HRSA suggested and assumed that the covered

entity would maintain title to those drugs and that the pharmacy would

remain an agent of the covered entity. Id. At that time, HRSA also

clarified that this guidance created “no new law” and “no new rights or

duties.” Id. at 43550. The 340B Program proceeded accordingly for

nearly a decade and a half.

      The status quo changed in 2010. HRSA released new guidance

that purported to permit all covered entities—even those with their own

in-house pharmacies—to contract with an unlimited number of contract

pharmacies, rather than just one local pharmacy. 75 Fed. Reg. 10272,

10273 (Mar. 5, 2010). Like the 1996 guidance, the 2010 guidance claimed



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that it did not “impose[] additional burdens upon manufacturers” or

“create[] any new rights for covered entities under the law.” Id. at 10273.

       In the decade following the 2010 guidance, contract pharmacies

participating in the program exploded from about 1,300 to 23,000.

Novartis, 102 F.4th at 457. That should surprise no one: The more

contract pharmacies a covered entity uses, the higher its profits from the

sale of those drugs at full price.        See ROA.71 (¶5); ROA.277 (n.37);

ROA.941-ROA.942 (¶¶4-5).          Contract pharmacies—often multibillion-

dollar, for-profit companies like CVS and Walgreens—generate

significant profits by sharing in the “spread” from selling 340B-priced

drugs at full or higher prices to pharmacy customers and/or seeking full

commercial reimbursement from the customers’ insurance plans. So

important are 340B profits to these pharmacy chains that, when certain

manufacturers stopped shipping them unlimited amounts of discounted

drugs, CVS and Walgreens listed the revised pharmacy policies as a

material risk to their business.1




1   See CVS Pharmacy 10-K (2022), at 22, https://tinyurl.com/mrykrxj8 (explaining
    that a reduction in contract pharmacy arrangements “could materially and
    adversely affect the Company”); Walgreens, Inc. 10-K (2022), at 28,
    https://tinyurl.com/4ks6mf3s (similar).
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     Because contract pharmacies are not entitled to participate in the

340B Program (since they are not among the statutorily enumerated

eligible entities), their relationship to covered entities is governed

entirely by contract. Many of these contracts provide that the covered

entities will “pay flat fees [to the contract pharmacies] for each eligible

340B prescription.” ROA.1065. “[F]lat fees range[] from $0 to $1,750 per

eligible 340B prescription.”    ROA.1066 (n.39).      Some contracts also

“require[] the covered entity to pay the contract pharmacy a fee based on

a percentage of revenue generated for each 340B prescription.”

ROA.1065. In either case, contract pharmacies pocket billions of dollars

each year in spread provided by manufacturers like AbbVie. ROA.80-

ROA.81 (¶¶38-39).

           2.    The Replenishment Model.

     Along the way, covered entities and contract pharmacies have

taken steps to maximize their arbitrage profits and, concerningly,

dispense drugs purchased at the 340B price to customers who are not

patients of covered entities. At the beginning of the 340B Program,

contract pharmacies maintained separate, segregated stocks of 340B-

priced drugs over which the covered entity maintained title, and the


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pharmacy dispensed to the covered entity’s patients on its behalf. That

is no longer true today. In most contract-pharmacy arrangements, 340B-

priced drugs are mixed with the pharmacy’s general inventory and title

transfers to the pharmacy long before a 340B-eligible patient is

identified. See ROA.287-ROA.288 (¶¶8-10); ROA.293-ROA.294 (¶¶8, 11);

ROA.941-ROA.942 (¶¶4, 6, 8); ROA.1600-ROA.1601.

     Most contract pharmacies, including in Louisiana, operate under

what is known as the “replenishment model.” E.g., ROA.84; ROA.941-

ROA.942 (¶¶3-5); ROA.1130-ROA.1133 (¶¶3-11). Under this model, the

contract pharmacy fills all prescriptions using its own drug inventory

(which comprises co-mingled drugs purchased at the market price and

the 340B price) to all individuals at the point of sale, irrespective of

whether they are a covered entity’s patient. The pharmacy does not

determine at the point-of-purchase whether the individual receiving the

drug is eligible to receive the drug acquired at the 340B discount—nor

would that matter to the patient, since it would not impact her price.

Only later, on the back end, does the pharmacy (with the help of its

“third-party administrator”) determine through a black-box algorithm

which dispenses may have been 340B eligible. ROA.941-ROA.942 (¶5);


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ROA.1131 (¶¶4-6).         Then, once sufficient identified dispenses for a

particular drug accumulate under that algorithm, the covered entity

orders additional quantities of that drug at the 340B price for the

contract pharmacy. ROA.941-ROA.942 (¶5); ROA.1130-ROA.1133 (¶¶3-

11).     Typically, though, the contract pharmacy or its third-party

administrator places the order using the covered entity’s account, and

sometimes without the knowledge of the covered entity.                 ROA.941-

ROA.943 (¶¶5, 9-10).          Once the contract pharmacy receives the

replenishment order, the 340B-priced drugs are “placed on the shelf,

become[] ‘neutral inventory,’ and may be dispensed to any subsequent

patient”—340B or not. ROA.1133 (¶11). And the cycle repeats itself. At

no time is the patient provided with any part of the 340B discount:

neither at the point of sale nor retroactively after the 340B eligibility

determination is made.

        This arrangement has led to a significant uptick in abuse. The HHS

Office of Inspector General has found that contract-pharmacy

arrangements create a greater risk of the discounted drugs being

dispensed to customers who are not covered-entity patients. HHS Office

of     Inspector   General,   OEI-05-13-00431,       Mem.    Report:    Contract


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Pharmacy Arrangements in the 340B Program (2014), at 1-2,

https://tinyurl.com/y5rz5nxj. That is because, in reality, the contract

pharmacies’ 340B criteria used for the algorithm are often materially

overinclusive, sweeping in individuals that are no longer receiving

prescriptions as a patient of a covered entity. ROA.278 (¶50); ROA.941-

ROA.942 (¶5).     This approach enables the covered entity and its

pharmacies to maximize their arbitrage profits. Indeed, “[t]he covered

entity, the pharmacy, and the third-party administrator often divvy up

the spread between the discounted price and the higher insurance

reimbursement rate” and thus each actor “has a financial incentive to

catalog as many prescriptions as possible as eligible for the discount.”

Novartis, 102 F.4th at 457-58. Importantly, contract pharmacies often

take title to the 340B drugs themselves, and do not maintain an agency

relationship with the covered entities they “service.” ROA.942-ROA.943

(¶¶8-11); see ROA.277-ROA.278 (¶¶46-47); ROA.83-85 (¶¶53, 56-57).

     Nor has the contract pharmacy explosion resulted in increased care

to the needy or lower costs for patients. Among the 340B hospitals

surveyed by the U.S. Government Accountability Office, approximately

half of covered entities admit that they do not pass on any discounts to


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patients at contract pharmacies—and others admit they do so only

rarely.   See ROA.85-ROA.86 (¶60); ROA.1075; ROA.1070-ROA.1071;

ROA.278 (¶52); ROA.975. Indeed, industry experts have observed that

needy patients scarcely benefit from expansions in the 340B Program and

many patients continue to see no real benefit at all. See ROA.278 (¶52);

ROA.1119-ROA.1122; ROA.1139. Some have even suggested that charity

care to the needy has not just stagnated but declined under the regime of

ever-expanding commercial pharmacy participation, with a majority of

340B hospitals providing even less charity care, on average, than

ordinary hospitals. ROA.86-ROA.87 (¶¶62-63).

           3.    Manufacturers’ Policies and Resulting Litigation.

     Beginning in 2020, drug manufacturers began to adopt contract-

pharmacy policies that address these abuses. AbbVie’s policy has always

offered covered entities unlimited 340B drugs at or below the ceiling

price. See ROA.88 (¶66); ROA.288-ROA.289 (¶13). But AbbVie will not

provide discounted drugs to unlimited, third-party contract pharmacies

serving covered entities.   Instead, consistent with the 1996 Guidelines,

AbbVie permits 340B orders from one contract pharmacy location if the

hospital covered entity does not have an in-house pharmacy and it is


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located within 40 miles of the covered entity. If a hospital covered entity

is unable to identify an eligible contract pharmacy within 40 miles,

AbbVie will work with the covered entity to identify a suitable

alternative, provided the entity submits limited claims data on 340B

utilization for such contract pharmacy location.        In addition, federal

grantee entities may use an unlimited number of contract pharmacies

provided they supply certain claims data. This policy satisfies AbbVie’s

federal obligation to “offer” its drugs to covered entities on reasonable

terms. Novartis, 102 F.4th at 464.

     In response to manufacturers’ policies, HHS issued an Advisory

Opinion in December 2020 contending that the 340B statute requires

manufacturers to transfer discounted drugs to an unlimited number of

contract pharmacies. HHS, Off. of the Gen. Counsel, Advisory Opinion

20-06 on Contract Pharmacies under the 340B Program (Dec. 30, 2020),

at 1-3, 8, https://tinyurl.com/2ca6rmnm. That document was ultimately

withdrawn after a federal district court held it unlawful. See AstraZeneca

Pharms. LP v. Becerra, 543 F. Supp. 3d 47 (D. Del. 2021). Since then,

both the Third Circuit and the D.C. Circuit have also broadly upheld




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manufacturers’ contract pharmacy policies as lawful and consistent with

the 340B statute. Sanofi, 58 F.4th at 704; Novartis, 102 F.4th at 460.

     C.    The Louisiana Law.

     In June 2023, Louisiana enacted Act 358, the “Defending Affordable

Prescription Drug Costs Act.” See Act 358 (codified at La. Stat. Ann.

§§40:2881-2886). The most relevant feature of the law for this case is

§40:2884(A), which states: “A manufacturer … shall not deny, restrict,

prohibit, or otherwise interfere with, … the acquisition of a 340B drug by,

or delivery of a 340B drug to, a pharmacy that is under contract with a

340B entity and is authorized under such contract to receive and

dispense 340B drugs on behalf of the covered entity….” La. Stat. Ann.

§40:2884(A) (emphasis added). The phrase “340B drug” is defined by

reference to its price—i.e., a unit of drug that is acquired by a covered

entity at or below the federal ceiling price. Id. §40:2882(1). Thus, the

defining feature of the statute is the price at which AbbVie must provide

its drugs to contract pharmacies.      It is undisputed that pharmacies

otherwise have unlimited access to AbbVie’s products at ordinary

commercial prices. In short, Act 358 regulates only price, not access.




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     A violation of Act 358 constitutes a violation of the Louisiana Unfair

Trade Practices and Consumer Protection Law, which carries substantial

consequences. Id. §40:2885; see id. §51:1401, et seq. That law empowers

the Attorney General and her staff to seek civil penalties and injunctive

relief against alleged violators. Id. §§51:1407, 51:1417. Louisiana courts

can also inflict additional penalties, including but not limited to

termination of the right to do business in the state. Id. §51:1408.

     D.    This Litigation.

     AbbVie filed this suit to challenge the constitutionality of Act 358.

First, AbbVie alleged that Act 358 is preempted because it expands

manufacturers’ obligations under the federal 340B Program and brings

its own enforcement scheme to bear. Second, AbbVie alleged that Act 358

effectuates an unconstitutional taking because it compels AbbVie to

transfer its drugs at significant discounts to private, for-profit

pharmacies, rather than for a “public use.”

     After AbbVie moved for summary judgment, and before the

Attorney General responded, Louisiana Primary Care Association—a

nonprofit whose member organizations include covered entities—moved

to intervene as a defendant. In a conclusory order without meaningful


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analysis or explanation, the district court granted that motion.              See

ROA.697.

     After a hearing on summary judgment, the district court denied

AbbVie’s motion and granted summary judgment to the State (as well as

the intervenor) in a written order. In rejecting AbbVie’s preemption

claims, the court focused on Section 340B’s lack of affirmative contract-

pharmacy obligations.     E.g., ROA.1503-ROA.1504, ROA.1509.                In its

view, Congress left open the door for states to add their own contract-

pharmacy requirements—and, the court added, such state-law measures

“arguably advance[]” Section 340B’s objectives by “increas[ing] the[]

revenues” available to covered entities under the Program. ROA.1512.

Then, in rejecting AbbVie’s takings argument, the court reasoned that

AbbVie’s ostensibly voluntary participation in the federal 340B Program

somehow “foreclosed the possibility” that Louisiana’s additional state-

law requirements “could result in an imposed taking of private property.”

ROA.1523. It also deemed Act 358 too foreseeable—and insufficiently

onerous—to qualify as a regulatory taking. ROA.1523-ROA.1524.

     This appeal followed.




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                    SUMMARY OF THE ARGUMENT
     The district court erroneously awarded summary judgment to the

Attorney General, and this Court should reverse. AbbVie is entitled to

relief because Louisiana’s law violates the Constitution in two different

ways.

     First, Act 358 offends the Supremacy Clause because it thrusts

Louisiana into the middle of a complex federal healthcare regime and

meddles with the substantive rules and enforcement mechanisms that

Congress created to govern it. That cannot stand because Congress

impliedly preempted the entire field of 340B pricing and eligibility, and

Act 358 improperly conflicts with Congress’s purposes. Indeed, a federal

court has already preliminarily enjoined a similar state law on

preemption grounds. PhRMA v. Morrisey, 2024 WL 5147643, at *7-12

(S.D. W. Va. Dec. 17, 2024).

     Second, the law effects a physical taking because it coerces AbbVie

to transfer its drugs to for-profit commercial pharmacies, against its will,

and for no public use. Supreme Court precedent has always held that

this kind of private, A-to-B transfer runs afoul of the Fifth Amendment’s

Takings Clause. See Calder v. Bull, 3 U.S. 386, 388 (1798) (Chase, J.).


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Supreme Court precedent and the original understanding of the Fifth

Amendment forbid ascribing to Act 358 any justifying “public use.”

During both the Founding and Reconstruction, the “public use”

requirement limited takings to instances where either the government

seized property for itself or transferred it to a private owner obligated to

provide the public a right of access as a common carrier. The narrow

modern exceptions to that rule do not extend to forcing A to transfer its

property to B for B’s own benefit, rather than to abate a public harm.

     Finally, Louisiana Primary Care Association should not be

permitted to intervene in this matter because it has no interest in the

outcome of this litigation and, even if it did, the Attorney General

adequately represents that interest.

                          STANDARD OF REVIEW
     This Court reviews grants of summary judgment de novo. Catalyst

Strategic Advisors, L.L.C. v. Three Diamond Cap. Sbc, L.L.C., 93 F.4th

870, 874 (5th Cir. 2024). Summary judgment is appropriate where the

“movant shows that there is no genuine dispute as to any material fact

and the movant is entitled to judgment as a matter of law.” Id. (quoting

Fed. R. Civ. P. 56(a)).


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     This Court reviews de novo an order on a motion to intervene—

except for the element of timeliness which is reviewed for an abuse of

discretion. Doe v. Duncanville Indep. Sch. Dist., 994 F.2d 160, 167 (5th

Cir. 1993). To intervene as of right, a party must satisfy four conditions:

(1) the application must be timely; (2) the applicant must have an interest

relating to the property or transaction that is the subject of the action;

(3) the disposition of the action must threaten to impair or impede the

applicant’s ability to protect its interest; and (4) the applicant’s interest

must be inadequately represented by the existing parties. Baker v. Wade,

743 F.2d 236, 240 (5th Cir. 1984); Fed. R. Civ. P. 24.

     An order on a motion for permissive intervention is also reviewed

for an abuse of discretion. Bush v. Viterna, 740 F.2d 350, 359 (5th Cir.

1984). A court considering a request for permissive intervention will

determine    “whether    the   intervenors’    interests     are   adequately

represented by other parties” and “whether they ‘will significantly

contribute to full development of the underlying factual issues in the

suit.’” New Orleans Pub. Serv., Inc. v. United Gas Pipe Line Co., 732 F.2d

452, 472 (5th Cir. 1984) (citation omitted).




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                               ARGUMENT
I.   ACT 358 IS PREEMPTED BY FEDERAL LAW.

     Under the Constitution’s Supremacy Clause, federal law is “the

supreme law of the Land.” U.S. Const. art. VI. And because federal law

is supreme, Congress must be left to exercise its constitutional power

unencumbered by the states. McCulloch v. Maryland, 17 U.S. 316, 436

(1819). As Chief Justice Marshall explained, “the states have no power,

by taxation or otherwise” to “impede” or “in any manner control” the

“operations of the constitutional laws enacted by Congress.” Id. Federal

law preempts state laws that obstruct its purposes. See, e.g., Aldridge v.

Miss. Dep’t of Corr., 990 F.3d 868, 874 (5th Cir. 2021).

     A.    The 340B Program Preempts the Field.

      “States are precluded from regulating conduct in a field that

Congress … has determined must be regulated by its exclusive

governance.” Arizona v. United States, 567 U.S. 387, 399 (2012). Intent

to displace state law in a field can be inferred from a “framework of

regulation so pervasive” that “Congress left no room for the States to

supplement it,” or a “federal interest” so “dominant that the federal

system will be assumed to preclude enforcement of state laws on the same

subject.” Id. (citation omitted).
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           1.    Congress Created a Wholly Federal System.

     Section 340B creates a comprehensive federal drug-pricing scheme

for certain types of entities that is an exclusive and closed-system. And

that scheme is integrated within the federal government’s broader

healthcare framework. 340B discounts do not exist in nature. Rather,

they are entirely a product of, and remain controlled by, federal law.

     At its most basic level, Section 340B obligates manufacturers to

offer certain of their drugs to certain covered entities at the statute’s

ceiling price.   42 U.S.C. §256b(a)(1).           Congress and HHS have

implemented that obligation through a detailed set of statutory

provisions, rules, and guidance documents.           Together, those rules

incentivize manufacturers’ participation in the Program without

becoming so extortive that manufacturers are motivated to withdraw

from both 340B and Medicaid.

     Among the 340B Program’s many substantive rules are the drugs

that are covered by the Program, 42 U.S.C. §256b(b)(2), the prices that

manufacturers must charge, id. §256b(a)(1), (a)(2), the specific types of

covered entities to whom manufacturers must offer the discounted drugs,

id. §256b(a)(4)(A)-(O), and the legal requirements that attach to covered


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entities, including prohibitions against duplicate discounting and

diversion, and the obligation to permit audits, id. §256b(a)(5)(A)-(C).

Thus, while obligating manufacturers to provide specific drugs at specific

prices to specific covered entities, the Program also strictly proscribes

potential statutory violations by manufacturers. That itself reflects the

balance Congress struck in enacting the 340B Program.

     Congress and HHS also have created a comprehensive and

exclusive remedial scheme for alleged 340B violations. Congress granted

HHS exclusive authority to monitor compliance with the Program and

provided it with compliance mechanisms such as civil monetary penalties

and expulsion from the Program.            See id. §256b(d).   Congress also

instructed HHS to create an administrative dispute resolution process

for disputes between covered entities and manufacturers regarding

diversion, duplicate discounting, and overcharges. Id. §256b(d)(3). HHS

followed those instructions in April 2024 and provided for a complete

dispute resolution process that is now live and accepting claims. 89 Fed.

Reg. 28643 (Apr. 19, 2024). That process covers pricing disputes between

covered entities and manufacturers. 42 C.F.R. §10.21(a)(1).




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      Perhaps most importantly, the federal rights and obligations that

340B creates are exclusive to the 340B Program, and they constitute just

one part of an integrated whole. In other words, the 340B Program is one

aspect of the federal government’s healthcare regime, with each

program—including 340B and Medicaid—intertwined with the other.

That not only explains why participation in 340B is a precondition of

participation in federal Medicaid; it also makes sense of the Supreme

Court’s observation that the 340B and Medicaid Drug Rebate Programs

are “interdependent.” Astra, 563 U.S. at 114, 120. This “interdependent

nature of the two programs’ requirements means that an adjudication of

rights under one program must proceed with an eye towards any

implications for the other.” Id. at 120. That is why the Court concluded

that private suits by 340B covered entities to enforce the Program’s

requirements would “undermine the agency’s efforts to administer both

Medicaid and § 340B harmoniously and on a uniform, nationwide basis.”

Id.

      Although the Astra case did not involve a preemption claim, the

Court’s descriptions of the 340B Program demonstrates how and why

Congress preempted the field. “Congress vested authority to oversee


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compliance with the 340B Program in HHS and assigned no auxiliary

enforcement role to covered entities.” Id. at 117. More specifically,

“Congress placed the Secretary [of HHS] (acting through her designate,

HRSA) in control of §340B’s drug-price prescriptions,” and “[t]hat control

could not be maintained were potentially thousands of covered entities

permitted to bring suits alleging errors in manufacturers’ price

calculations.” Id. at 114. Such an auxiliary enforcement mechanism

“could spawn a multitude of dispersed and uncoordinated lawsuits” with

“HHS unable to hold the control rein,” and the resulting “risk of

conflicting adjudications would be substantial.”         Id. at 120.        Thus,

“spreading the enforcement burden” to other entities is “hardly what

Congress contemplated when it ‘centralized enforcement [of the 340B

Program] in the [federal] government.’” Id. at 119-20.

     The exact same is true of an ad hoc and un-coordinated effort spread

out across a variety of states.         At bottom, because Section 340B

“provide[s] the exclusive cause of action for [overcharge] claims, there is,

in short, no such thing as a state-law claim [for overcharging] against a

[manufacturer of 340B drugs].” Beneficial Nat’l Bank v. Anderson, 539

U.S. 1, 11 (2003).


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           2.    Louisiana May Not Tinker with Congress’s Policy
                 Decisions in Section 340B.

     Louisiana disagrees with the balance Congress struck in the 340B

statute and seeks to append its own substantive requirements onto the

federal Program.       It cannot.   “[T]he states can exercise no powers

whatsoever, which exclusively spring out of the existence of the national

government.” U.S. Term Limits, Inc. v. Thornton, 514 U.S. 779, 802

(1995).   Here, Louisiana has invaded the field of 340B pricing and

eligibility by enacting its own statute that effectively expands the list of

entities eligible for 340B pricing and enhancing the penalty regime for

violations of its new substantive obligations.

     That is literally the oldest preemption problem in the book. Like

the Maryland law struck down in McCulloch attempting to tax only the

Bank of the United States, 17 U.S. at 435-36, Act 358 applies only to 340B

drugs. It regulates nothing except transactions undertaken pursuant to

a federal program, governed by federal contracts between drug

manufacturers and the United States. Louisiana has no authority to

directly regulate what Congress has made. See Wis. Dep’t of Indus., Lab.

& Hum. Rels. v. Gould Inc., 475 U.S. 282, 288-89 (1986). Louisiana’s law

literally could not exist without the federal 340B Program.

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     The Supreme Court’s decision in Arizona is instructive. There, the

Court found preempted an Arizona state law that made it a misdemeanor

to willfully fail to “complete or carry an alien registration document” in

violation of federal law. 567 U.S. at 400. In that way, the state added a

“state-law penalty for conduct proscribed by federal law.” Id. In finding

the state provision preempted, the Court explained that “federal

statutory directives provide a full set of standards governing alien

registration, including punishments for noncompliance,” which Congress

designed to be a “harmonious whole.” Id. at 401. The Court continued:

“Where Congress occupies an entire field, as it has in the field of alien

registration,     even      complementary           state     regulation     is

impermissible. Field preemption reflects a congressional decision to

foreclose any state regulation in the area, even if it is parallel to federal

standards.” Id.

     The same logic applies to this case, except that Louisiana has

expanded obligations under a federal program and added a state-law

penalty for violations. The Supreme Court has explained that Congress

intended the 340B Program to be a harmonious whole, enforced only by

HHS. Astra, 563 U.S. at 120. In short, Congress has occupied the field


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of 340B pricing and eligibility such that even purported complementary

state regulation is impermissible.

     In reaching the opposite conclusion, the district court relied on a

court of appeals decision that upheld the very contract pharmacy policies

that Louisiana now seeks to proscribe, largely on the basis that the 340B

statute imposes no affirmative obligations on manufacturers concerning

contract pharmacies.     True, both the D.C. and Third Circuits have

concluded the 340B Program does not require anything of manufacturers

as it relates to contract pharmacies.       See Sanofi, 58 F.4th at 704;

Novartis, 102 F.4th at 464. But Congress’s decision not to impose a

particular obligation on manufacturers within the wider 340B regime

does not mean that the decision was left to the states. Section 340B

prescribes a condition of federal participation, so what is required is just

as important as what is not required. Novartis, 102 F.4th at 460 (“We

think that this silence preserves—rather than abrogates—the ability of

sellers to impose at least some delivery conditions.”). That is particularly

true where, as here, the obligation intended to be granted onto the federal

program would increase the costs of participation, threatening the

balance struck by Congress. Congress’s work in the 340B statute reflects


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a variety of competing policy judgments that typically accompany

lawmaking in a complex industry.            And because Congress’s work is

detailed and pervasive, the best inference is that it intended to preempt

the field of 340B pricing and eligibility.

     Moreover, the district court misreads Sanofi to be fundamentally

about HHS’s “statutory authority” under Section 340B to make decisions

about contract pharmacies. ROA.1507. That is only half the story—and

not the relevant part for purposes of this case. Sanofi (and later Novartis)

expressly decided whether “Section 340B requires drug makers to deliver

drugs to an unlimited number of contract pharmacies.” 58 F.4th at 703.

Put differently, the cases dealt with the authority and autonomy 340B

grants to drug manufacturers with respect to contract pharmacies.

Sanofi did not involve HHS’s rulemaking authority, id. (noting “the

parties agree” that “HHS lacks rulemaking authority here”), and the

Third Circuit interpreted the scope of Section 340B without deference to

HHS’s position. Ultimately, both Sanofi and Novartis held that because

the 340B statute is “silent” on whether drug manufacturers must provide

drugs to contract pharmacies, it preserves manufacturers’ liberty to




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impose reasonable restrictions in the area, including by restricting or

denying provision of drugs to contract pharmacies.

     The district court also incorrectly concluded that the 340B statute

does not extend to the “relationship between covered entities and their

contract pharmacies,” and that Act 358 simply fills this statutory silence.

ROA.1503-ROA.1504. The court reasoned that “Section 340B does not

prevent covered entities from entering into contracts with independent

pharmacies.” ROA.1504. While that is true enough, it misses the point.

Section 340B does not prohibit contract pharmacies, but as clearly

articulated in Sanofi and Novartis, manufacturers are entitled to impose

“at least some delivery conditions”—including reasonable restrictions on

transfer of drugs to contract pharmacies. Novartis, 102 F.4th at 460;

Sanofi, 58 F.4th at 704. And to suggest, as the district court did, that Act

358 does not address “pricing” is plainly wrong. ROA.1509. The Act

explicitly regulates AbbVie’s drugs by reference to their discounted price.

See La. Stat. Ann. §40:2882(2); see also Morrisey, 2024 WL 5147643, at

*8 (concluding that similar state law “regulates price, not delivery” and

finding that “[t]he question is only about what price the pharmacy and

the covered entity will pay the manufacturer for the replenished drug


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upon distribution of the 340B Program eligible one”). Accordingly, Act

358 unconstitutionally intrudes on the federal field of 340B pricing and

eligibility.

      B.       Act 358 Conflicts with the 340B Program.

       Act 358 is conflict preempted because it “stands as an obstacle to

the accomplishment and execution of the full purposes and objectives of

Congress” in creating the 340B Program. Arizona, 567 U.S. at 399. In

particular, Act 358 conflicts with federal law by compelling AbbVie to

provide its drugs at the ceiling price to entities not enumerated in the

statute and subjecting it to a parallel state enforcement scheme.

               1.   Act 358 Improperly Expands 340B Obligations
                    Under the 340B Program.

      Act 358 conflicts with Section 340B because it expands

manufacturers’ obligations under the federal Program by compelling

them to transfer their drugs at discounted prices to contract pharmacies.

Put concretely, the law “enacts a state [obligation] where no federal

counterpart exists.” Id. at 403. And that imposition “upsets the balance

struck” in the 340B Program, thereby creating an “obstacle to the federal

plan of regulation and control.” Id.




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      In its preemption analysis, the district court placed significant

weight on its observation that “Section 340B does [not] address contract

pharmacies.”2 ROA.1512. But that statutory omission was not a “gap”

left for states to fill on their own. It was an intentional policy choice that

reflected Congress’s considered judgment.

      Several textual cues bear that out. First, Section 340B specifically

enumerates the entities entitled to 340B pricing but does not include

contract pharmacies. “It is hard to believe that Congress enumerated 15

types of covered entities with a high degree of precision and intended to

include contract pharmacies as a 16th option by implication.”

AstraZeneca, 543 F. Supp. 3d at 60. Second, a statutory neighbor of 340B

regulating the prices that federal agencies pay for drugs (a close analogue

to 340B itself) explicitly contemplates that manufacturers will distribute

drugs through contract pharmacies. See Sanofi, 58 F.4th at 704-05.

Congress did not include any such language in the 340B statute, a choice

presumed to be intentional. Id. Indeed, when enacting 340B, Congress

rejected a bill that would have required that 340B discounts be




2   The district court omitted the word “not,” but AbbVie assumes—given the
    context—that this omission was a typographical error.
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distributed “under a contract entered into for on-site pharmacy services.”

S. Rep. No. 102-259, at 2 (1992). Congress made the deliberate decision

to omit that language, reasonably reflecting Congress’s “considered

judgment” that such an obligation “would be inconsistent with federal

policy and objectives.” Arizona, 567 U.S. at 405.

     Louisiana now contradicts that choice by imposing its own contract-

pharmacy      requirement,   thereby       expanding   the   obligations   of

manufacturers participating in the 340B Program. That is a conflict.

When Congress has crafted a comprehensive framework, as it has done

in Section 340B, the items that Congress does not include reflect its

considered judgment in the same way as the items that it does include.

See Arizona, 567 U.S. at 404-06; see also Rapanos v. United States, 547

U.S. 715, 752 (2006). The 340B Program’s scope reflects a careful balance

between competing interests: Congress wanted to create drug discounts,

but it also needed to incentivize drug manufacturers to participate. By

ignoring Section 340B’s limits on obligations assumed by participating

manufacturers, Louisiana “skew[s]” the finely wrought balance that

Congress struck. Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341,

348 (2001).


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           2.     Act 358 Thwarts Congress’s Intent to Vest
                  Exclusive Authority for Enforcing Section 340B
                  in the Federal Government.

     Act 358 also clashes with Congress’s enforcement scheme by

empowering the Louisiana Attorney General to impose various state

sanctions on manufacturers that fail to provide 340B-priced drugs to

contract pharmacies. Louisiana’s enforcement regime will “inevitably

conflict” with the federal government’s ability to police 340B compliance

“consistently with [its] judgment and objectives.” Id. at 350. That is why

a federal court in West Virginia recently preliminarily enjoined a

substantially similar state law. Morrisey, 2024 WL 5147643, at *7-12

(holding that law was likely preempted because it threatened the federal

government’s enforcement authority and hampered manufacturers’

access to the federal enforcement scheme).

     Section 340B’s compliance scheme reflects several of Congress’s

considered judgments. Congress made the federal government the sole

and exclusive enforcement arm of the 340B Program, with review by the

federal courts.   See Astra, 563 U.S. at 120.        In addition, Congress

specifically delineated which tools the agency could use to ensure that




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participating manufacturers comply with the Program’s requirements.

42 U.S.C. §256b(d)(l)(B)(v), (d)(3).

     Louisiana undermines those judgments by authorizing its own

officers to police manufacturers’ participation in the 340B Program. See

Morrisey, 2024 WL 5147643, at *12 (holding it “should be apparent” that

enforcement of state statute “cut[s] against the Supreme Court’s holding

in Astra”). So, if AbbVie refuses to provide 340B pricing on drugs that it

delivers to contract pharmacies, it will face state sanctions (that

Congress did not want) in a state-court tribunal (that Congress did not

empower).    “‘Conflict is imminent’ when ‘two separate remedies are

brought to bear on the same activity.’” Crosby v. Nat’l Foreign Trade

Council, 530 U.S. 363, 380 (2000) (citation omitted).

     That conflict is particularly acute here because Louisiana

decisionmakers will need to resolve questions of federal law in

determining whether a manufacturer violated Act 358. Louisiana’s law

prohibits a manufacturer from limiting the acquisition of “a 340B drug”

by a contract pharmacy authorized by “a covered entity” to receive it. La.

Stat. Ann. §40:2884(A). Louisiana, in enforcing the law, would thus need

to decide—among other things—whether the denied prescriptions were


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actually eligible for 340B pricing and whether the covered entity has

engaged in prohibited diversion or duplicate discounting. The result is a

hodgepodge of state and federal adjudicators deciding the same purely

federal questions in potentially inconsistent ways.               “This risk of

conflicting results cuts against Congress’s vision of ‘centralized

enforcement’ that Astra found as necessary to execute the 340B

Program.” Morrisey, 2024 WL 5147643, at *11.

             3.    The District Court Was Wrong to Conclude That
                   Act 358 Is Not Preempted Because It Furthers
                   the 340B Program.

     Both the district court and the State appear to believe that because

Act 358 purports to aim toward the same substantive ends as 340B, it

cannot be inconsistent with the federal regime. But the Supreme Court

squarely rejected that logic in Arizona: “Although [Act 358] attempts to

achieve ... the same goals as federal law … it involves a conflict in the

method of enforcement. The Court has recognized that a ‘conflict in

technique can be fully as disruptive to the system Congress erected as

conflict in overt policy.’” Arizona, 567 U.S. at 406; see also Novartis

Pharms. Corp. v. Espinosa, 2021 WL 5161783, at *7 (D.D.C. Nov. 5,

2021).     And here, Congress’s “purpose” includes the limits to its


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Program’s   scope      and   its   built-in   protections   for   participating

manufacturers.      See Rapanos, 547 U.S. at 752; Morrisey, 2024 WL

5147643, at *6.      So, the district court’s observation that Act 358

“increase[s] the[] revenues” that covered entities collect from the 340B

Program (at the expense of manufacturers and paid for by customers or

their insurers at the full retail price) does not show that Louisiana’s law

“advances” 340B’s objectives.       See ROA.1512.       That is because “no

legislation pursues its purposes at all costs” and “[d]eciding what

competing values will or will not be sacrificed to the achievement of a

particular objective is the very essence of legislative choice”—not the

courts. Rodriguez v. United States, 480 U.S. 522, 526 (1987). And “it

frustrates rather than effectuates legislative intent simplistically to

assume that whatever furthers the statute’s primary objective must be

the law.” Id.

     Further, both the district court and the Attorney General rely on

the Eighth Circuit’s decision in PhRMA v. McClain, 95 F.4th 1136 (8th

Cir. 2024)—which upheld a similar state law in Arkansas. But that

decision, and the district court’s decision applying it here, rest on

mistaken premises.      The most significant is that laws like Act 358


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regulate “delivery” or the practice of pharmacy, areas traditionally left to

state regulation.

     Act 358 does not regulate traditional state areas but instead

regulates drug pricing and eligibility under a purely federal regime. The

law instructs that manufacturers may not prohibit the “acquisition” of

discounted drugs by commercial pharmacies. La. Stat. Ann. §40:2884(A).

And by its terms, it applies only to drugs “subject to any offer for reduced

prices … pursuant to [Section 340B].” Id. §40:2882(1), (2).

     A hypothetical illustrates the point made by the statutory text. A

manufacturer would face penalties under the Louisiana law if it offered

unlimited quantities of its drugs for purchase to contract pharmacies,

delivered direct to the pharmacy, but requested payment above the 340B

ceiling price. Yet a manufacturer would not face such liability if its offer

included pricing at or below the ceiling price. In other words, the statute

regulates pricing and eligibility, not methods of distribution. As another

court put it: “[U]nder the replenishment model the pharmacy will be

delivered the drug regardless of its price. Only if the 340B drug—that is,

if the 340B price—is refused does the contract pharmacy have its

‘acquisition’ of the drug restricted. Morrisey, 2024 WL 5147643, at *10.


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     Imagine, by contrast, a state law requiring delivery of drugs by

temperature-controlled trucks, or a law that required all drugs be

shipped in red boxes for ease of demarcation. Those would be traditional

delivery regulations. Act 358 is not. Act 358 has everything to do with

whether AbbVie will provide its drugs at 340B prices and to whom, but

nothing to do with how. And precisely because Act 358 is not a “health

and safety” regulation under the State’s traditional police powers, the

“presumption against preemption” is inapplicable. Indeed, by regulating

manufacturers’ obligations to transfer and sell their drugs at discounted

federal prices under the 340B statute, Act 358 is interfering with a

relationship that is “inherently federal in character.” Buckman, 531 U.S.

at 347.

     Two other misunderstandings underlay McClain’s preemption

analysis.

     First, central to the reasoning in McClain is the notion that covered

entities retain title to the purchased discounted drugs. 95 F.4th at 1142.

That is not the case. See, e.g., ROA.941-ROA.942 (¶¶3-8); ROA.1133

(¶11). Once the pharmacy receives a 340B-priced drug, that drug is

placed on the shelf where it becomes “neutral inventory.” ROA.1131,


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ROA.1133 (¶¶4, 11). In other words, covered entities do not retain title:

at the time of sale to a patient, a particular unit of drug is owned by the

pharmacy itself.   ROA.942 (¶¶6, 8).       Pharmacies admit they do not

maintain physically segregated inventories for 340B and non-340B

drugs. ROA.941-ROA.942 (¶¶4, 8).

     Second, McClain appeared to believe that contract pharmacies

maintain an agency relationship with the covered entities they “serve.”

That conclusion is likewise mistaken. ROA.943-ROA.944 (¶¶11, 13).

Agency relationships require the principal to have “the right of control

over the conduct and activities of the purported agent.” Wood v. Holiday

Inns, Inc., 508 F.2d 167, 172 (5th Cir. 1975). But covered entities rarely

exercise that level of control over pharmacies, if at all. Rather, contract

pharmacies often order 340B drugs from manufacturers themselves,

using the covered entities’ purchasing accounts, and sometimes even

without the covered entities’ knowledge.          ROA.943 (¶9).      And while

McClain looked to HRSA’s 1996 and 2010 guidance in stating its

aspiration that an agency relationship be maintained, see 95 F.4th at

1142 (citing 61 Fed. Reg. 43552), HRSA’s stated ambition from over a




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decade ago has little to do with the practice on the ground today.

Accordingly, the district court’s reliance on McClain was misplaced.

II.   ACT 358 EFFECTUATES AN UNCONSTITUTIONAL
      TAKING.

      Act 358 effectuates an unconstitutional physical taking because it

compels the transfer of AbbVie’s property to private parties that will sell

the drugs at regular prices and retain the profit for themselves. Such

takings have never been allowed under the Fifth Amendment, which

permits the taking of private property only for “public use.” U.S. Const.

amend. V; see also Calder, 3 U.S. at 388. Nor could any compensation

conceivably cure Act 358’s compelled transfer because it does not put the

property to any “public use.”

      This Court, guided by the Supreme Court, has articulated several

principles that inform its Takings Clause jurisprudence. First, “history

and tradition, including historical precedents, are of central importance

when determining the meaning of the Takings Clause.” Baker v. City of

McKinney, Tex., 84 F.4th 378, 383 (5th Cir. 2023). Judicial precedents

stretching from the first Justices of the Supreme Court to the modern day

have recognized the Takings Clause cannot justify a taking from one




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private party to another. See, e.g., Lingle v. Chevron U.S.A. Inc., 544 U.S.

528, 543 (2005); Calder, 3 U.S. at 388.

     Second, “takings cases ‘should be assessed with reference to the

“particular circumstances of each case,” not by resorting to blanket

exclusionary rules.’”   Baker, 84 F.4th at 383 (citation omitted).          For

example, this Court has clarified that vague gestures toward the State’s

“police power” are insufficient to justify a taking because “if the uses of

private property were subject to unbridled, uncompensated qualification

under the police power, the natural tendency of human nature would be

to extend the qualification more and more until at last private property

disappeared.” Id. (internal quotations and citation omitted).

     Together, these principles reflect a broader recognition that “[t]he

Fifth Amendment ... was designed to bar Government from forcing some

people alone to bear public burdens which, in all fairness and justice,

should be borne by the public as a whole.” Baker v. City of McKinney,

Tex., 93 F.4th 251, 251 (5th Cir. 2024) (Elrod, J., dissenting from the

denial of rehearing en banc) (citation omitted). Indeed, the “Founders

recognized that the protection of private property is indispensable to the

promotion of individual freedom. As John Adams tersely put it, ‘property


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must be secured, or liberty cannot exist.’” Cedar Point Nursery v. Hassid,

594 U.S. 139, 147 (2021) (citation omitted).

     A.    Act 358 Effectuates a Physical Taking.

     Act 358 works a physical taking. When the government acquires

property for a third party, it is a “physical appropriation[]” that

“constitute[s] the ‘clearest sort of taking.’” Id. at 148. And “[g]overnment

action that physically appropriates property is no less a physical taking

because it arises from a regulation.” Id. at 149. The “essential question”

when deciding whether a taking is physical or “regulatory” is “whether

the government has physically taken property for itself or someone else—

by whatever means—or has instead restricted a property owner’s ability

to use his own property.” Id. Whenever a law “results in a physical

appropriation of property, a per se taking has occurred.” Id. Act 358

achieves this sort of physical taking by compelling a transfer of AbbVie’s

property to private parties.

     Act 358’s text confirms it compels the transfer of property at a

particular price—rather than, as the Attorney General suggests,

regulating only the method of delivery for drugs that AbbVie already

agreed to provide. The Act insists that “[a] manufacturer or distributor


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shall not deny, restrict, prohibit, or otherwise interfere with” the

“acquisition of a 340B drug by … a pharmacy that is under contract with

a 340B entity….”        La. Stat. Ann. §40:2884(A) (emphasis added). The

ordinary meaning of “acquisition” is the “gaining of possession or control

over something.”        Black’s Law Dictionary (12th ed. 2024); Acquire,

Merriam-Webster           Online     Dictionary,        https://www.merriam-

webster.com/dictionary/acquire (last visited Jan. 8, 2025) (defining

“acquire” as “to come into possession or control of often by unspecified

means”). So Act 358, in plain English, prohibits AbbVie from preventing

commercial pharmacies from taking possession of AbbVie’s drugs at

legislatively set prices. That is a taking. See Horne v. Dep’t of Agric., 576

U.S. 350, 362 (2015) (explaining that the “actual taking of possession and

control” is “a taking as clearly ‘as if the [receiving party] held full title

and ownership’” (citation omitted)); ROA.287-ROA.288 (¶8); ROA.941-

ROA.944 (¶¶4-8, 13). As the Supreme Court recently made clear, just as

the “government commits a physical taking when it uses its power of

eminent domain to formally condemn property,” “[t]he same is true when

the government physically takes possession of property without

acquiring title to it.” Cedar Point, 594 U.S. at 147; see also Horne, 576


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U.S. at 358 (the same takings analysis applies to laws that target

personal rather than real property).

         The statute’s title similarly confirms Act 358 compels drug

transfers at a particular price. The Louisiana legislature titled Act 358

the “Defending Affordable Prescription Drug Costs Act.” The title of a

bill is a “permissible indicator[] of meaning” in law generally, Scalia &

Garner, Reading Law: The Interpretation of Legal Texts (2012), §35, and

in Louisiana specifically, Dufrene v. Video Co-Op, Louisiana Workers’

Comp. Corp., 843 So. 2d 1066, 1073 (La. 2003). Act 358’s title does not

reference contract arrangements or delivery-related issues such as

dangerous shipping conditions. Rather, it makes clear that the law seeks

to secure AbbVie’s property at a particular (confiscatory) acquisition price

for contract pharmacies.

         Practice on the ground, too, confirms that the thrust of Act 358 is

requiring a transfer of AbbVie’s drugs to private entities at a particular

price.     If Act 358 stands, contract pharmacies and their third-party

administrators will place orders for discounted drugs and AbbVie will

have no choice but to accept and honor those orders. ROA.943 (¶¶9, 10).

The pharmacies will then take title to the drugs, merge them with their


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general inventory, and dispense them to customers irrespective of

whether they are a covered entity’s patient. ROA.941-ROA.944 (¶¶ 4-8,

11, 13). That will increase the volume of drugs manufacturers must

essentially give away at significantly reduced prices so that covered

entities and contract pharmacies can resell them at retail prices and

generate revenue from customers and their insurers. ROA.941 (¶4). At

bottom, Act 358 requires AbbVie to physically part with its personal

property at a legislatively determined price, at the expense of commercial

pharmacies.

     B.    Act 358’s Taking Is Not for “Public Use.”

     Because Act 358 compels a taking that is not for “public use,” it

cannot pass constitutional muster. The Fifth Amendment’s text limits

the State’s power to take property not by reference to “public purpose” or

“public necessity,” but instead “public use.” And that phrase provides

enforceable limitations on the State’s power to seize private property.

Under both the original understanding of the phrase and the modern

doctrine, Act 358 falls short of a “public use.”

     1. Act 358 serves no “public use.” The original meaning of that

phrase limits takings to transfers to the government, or to a private


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entity that had a legal obligation to hold open the property to the public.

See Ilya Somin, The Grasping Hand (2015) at 36; see also Eric R. Claeys,

Public-Use Limitations and Natural Property Rights, 2004 Mich. St. L.

Rev. 877, 879 (2004) (“[W]hen the government assigns property to private

owners not subject to a duty of public access and common-carrier

regulation, it unconstitutionally takes private property for private

uses.”). Both during the Founding and at Reconstruction, this meant that

States employed eminent domain only “to provide quintessentially public

goods, such as public roads, toll roads, ferries, canals, railroads, and

public parks.” Kelo v. City of New London, Conn., 545 U.S. 469, 512

(2005) (Thomas, J., dissenting).

     At the Founding, property was a natural right and its protection

was a paramount purpose of government. James Madison, the author of

the Bill of Rights, described: “Government is instituted to protect

property of every sort … that alone is a just government, which

impartially secures to every man, whatever is his own.” James Madison,

“Property” (1792), in Philip Kurland and Ralph Lerner, eds., The

Founders Constitution, (Chicago: University of Chicago Press, 1987),

1:598 (emphasis added). Two of the few judicial decisions on eminent


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domain from that time reflect this principle and its application to the

takings context.       First, in Vanhorne’s Lessee v. Dorrance, Justice

Paterson described (while riding circuit) that the legislature could never

“by a private act, affecting particular persons only, [] take land from one

citizen, who acquired it legally, and vest it in another[.]” 2 U.S. 304, 312

(C.C.D. Pa. 1795). Second, in Calder, Justice Samuel Chase explained:

“[A] law that takes property from A. and gives it to B.” is “against all

reason and justice, for a people to entrust a Legislature with SUCH

powers; and, therefore, it cannot be presumed that they have done it.”

3 U.S. at 388; see also John Locke, Two Treatises of Government and A

Letter Concerning Toleration, ed. Ian Shapiro (Yale University Press,

2003), §138 (describing that property was a natural right and that the

government could not “take from any Man part of his Property without

his own consent”); William Blackstone, Commentaries on the Laws of

England (Chicago: University of Chicago Press, 1979 [1765]), 1:135

(observing that the law does not permit invasions of private property

“even for the general good of the whole community”).

     2. The same was true at the Fourteenth Amendment’s adoption.

The majority of state court decisions from that time period reflect a view


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of “public use” consistent with that described above. Supra Somin at 44;

see, e.g., Bankhead v. Brown, 25 Iowa 540, 545 (1868) (explaining the

Takings Clause prohibits “the taking of private property for any private

use whatever, without the consent of the owner … [i]t forbids private

property from being compulsorily taken for any but public use”);

Memphis Freight Co. v. City of Memphis, 44 Tenn. 419, 425 (1867).

     Further, as with the Founding, influential legal scholars during

Reconstruction described that takings could be justified only for a public

use, not a public purpose or benefit. Thomas Cooley explained: “public

use implies a possession, occupation, and enjoyment of the land by the

public, or public agencies; and there could be no protection whatever to

private property, if the right of the government to seize and appropriate

it could exist for any other use.” Thomas Cooley, A Treatise on the

Constitutional Limitations Which Rest Upon the Legislative Power of the

States of the American Union at 531 (Boston: Little, Brown, 1868). Cooley

also warned of a broader interpretation of “public use,” explaining that

“there are many ways in which the property of individual owners can be

better employed or occupied when the general public is considered than

it actually is by the owners themselves.” Id. at 532.


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     3.    Louisiana’s compelled transfer of AbbVie’s products to

pharmacies cannot be a “public use.” Louisiana does not obtain the drugs

for itself and pay for them. Instead, the private pharmacies, without

paying market value, will gain possession and control of the drugs until

dispensed to customers (at full price).            The Supreme Court has

consistently condemned the kind of private A-to-B property transfer

Louisiana attempts to work here. See, e.g., Calder, 3 U.S. at 388; Kelo,

545 U.S. at 477.

     Indeed, Act 358 represents an extension beyond even the Court’s

most expansive articulation of “public use” in Kelo.          Louisiana’s law

compelling AbbVie to provide discounted drugs to for-profit pharmacies

does not seek to rectify or redress any kind of “blight.” Rather, Act 358

aims at what Kelo expressly forbade: “a one-to-one transfer of property,

executed outside the confines of an integrated development plan” which

would surely constitute an “unusual exercise of government power” and

“would certainly raise a suspicion that a private purpose was afoot.” 545

U.S. at 487.

     Compounding this constitutional error is that Act 358 improperly

singles out for preferential treatment a preferred class of private entities


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the State of Louisiana favors more than pharmaceutical manufacturers:

commercial pharmacies.      That runs afoul of existing “public use”

jurisprudence even in cases where the Court ultimately sanctioned a

taking. See Hawaii Hous. Auth. v. Midkiff, 467 U.S. 229 (1984). There

is no reason to extend the urban renewal line of cases that reached their

zenith in Kelo—and which are themselves on suspect constitutional

ground, see Kelo, 545 U.S. at 515-21 (Thomas, J., dissenting)—to the

entirely new factual and legal context presented here.

     4. Even under the mistaken rubric of “public purpose,” the State’s

claims about Act 358’s public benefits are wrong. Discounted drugs are

commonly sold to 340B patients and non-patients alike, irrespective of

their financial status. ROA.1131 (¶5); ROA.941-ROA.942 (¶¶4, 5). The

pharmacies sell the drugs at full price to someone and then retain the

arbitrage profit for themselves, not the public. And they rarely (if ever)

pass any financial benefit on to needy patients, either in the form of

lower-priced drugs, other programs, or uncompensated care. In short,

the profits and revenues of contract pharmacies and covered entities

continue to balloon, at the expense of manufacturers and patients alike.

ROA.80, ROA.80-ROA.87 (¶¶39, 57, 58, 60, 61, 63); ROA.276-ROA.278


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(¶¶42, 44, 47, 52). None of that is what the Constitution means by “public

use.”

        C.   Act 358’s Taking Is Coercive, Not Voluntary.

        The State’s primary takings defense below centered on the so-called

“voluntary participation” doctrine, but that doctrine cannot save Act 358

for two separate, independent reasons.

        First, Louisiana does not condition compliance with Act 358 on

anything the State itself offers. It simply demands manufacturers sell

the products at the federally discounted price to commercial pharmacies,

on pain of civil penalties.      There is no benefit of Louisiana’s that

manufacturers can refuse to avoid the penalties that Act 358 carries. And

AbbVie’s ostensibly voluntary participation in the federal 340B Program,

as well as Medicaid, does not mean that it has voluntarily chosen to

participate in Louisiana’s compulsory regime.

        The one court that has confronted an issue like this agreed with

AbbVie’s position. See Virginia Hosp. & Healthcare Ass’n v. Roberts, 671

F. Supp. 3d 633 (E.D. Va. 2023). There, Virginia law required hospitals

participating in federal Medicare or Medicaid to obtain a certificate of

public need if they wanted to make certain updates to their facilities in


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excess of a specified dollar amount. Id. at 644. Hospitals sued both the

federal and state governments under the Takings Clause. The court

determined that the federal government had no takings liability, because

the hospitals voluntarily participated in the federal Medicaid and

Medicare programs. But, as against the state government, the court

concluded that Virginia compelled “any healthcare system with an acute

care hospital in Virginia to participate in Medicare and Medicaid,” in

violation of the Takings Clause, because “[t]hose state law [certificate]

requirements have no bearing on whether provider’s participation in

Medicaid and Medicare is voluntary as a matter of federal law.” Id. at

666.3

        Louisiana argued below that to avoid its forced-sale regime, AbbVie

can simply withdraw from the entire 340B Program and Medicaid. But

AbbVie’s participation in Medicaid is already the predicate for its

participation in the broader 340B Program—i.e., Louisiana offers nothing

over and above what AbbVie already receives.4 “A voluntary exchange



3   The court ultimately concluded the state was immune from suit under the
    Eleventh Amendment for reasons not even arguably present here.
4   That the State can make its voluntary participation argument only by reference
    to federal programs and requirements provides further confirmation, discussed
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for a benefit” “does not exist” “if the purported ‘benefit’ is illusory.”

Valancourt Books, LLC v. Garland, 82 F.4th 1222, 1232 (D.C. Cir. 2023).

     Further, the Supreme Court has rejected Louisiana’s mode of

reasoning. A State may not demand that private individuals part with

their property as a condition of engaging in commerce. Horne, 576 U.S.

at 366. That is because participating in commerce is “not a special

governmental benefit that the Government may hold hostage, to be

ransomed by the waiver of constitutional protection.” Id.

     Second, even if this case were treated as a traditional voluntary-

participation-doctrine case, Louisiana’s law would fail because there is

no nexus or rough proportionality between forced sales to pharmacies

and AbbVie’s decision to participate in federal programs.                   The

unconstitutional conditions doctrine “vindicates the Constitution’s

enumerated rights by preventing the government from coercing people

into giving them up.” Koontz v. St. Johns River Water Mgmt. Dist., 570

U.S. 595, 604 (2013).




  supra at §I, that the State is inappropriately meddling in a wholly federal
  universe.

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     When evaluating whether the government has abused its power to

add conditions to the receipt of a benefit, courts ask the threshold

question “whether the condition would qualify as a taking if the

government had directly required it.” Knight v. Metro. Gov’t of Nashville

& Davidson Cnty., Tenn., 67 F.4th 816, 825 (6th Cir. 2023). Absent

voluntary agreement, it is beyond dispute that Act 358’s command to

transfer property or suffer significant penalties would constitute a

taking.

      The next two inquiries are (1) whether there is an “essential nexus”

between the conditions that attach to the benefit and the governmental

interest justifying those conditions and (2) whether the conditions on

receiving the benefit have a “rough proportionality” to the supposed

impact on governmental interests that is caused by the party’s receipt of

the benefit. Sheetz v. Cnty. of El Dorado, Cal., 601 U.S. 267, 275 (2024).

For example, “if a proposed development will ‘substantially increase

traffic congestion,’ the government may condition the building permit on

the owner’s willingness ‘to deed over the land needed to widen a public

road.’” Id. at 274-75 (citation omitted). These requirements recognize

that a property owner threatened with certain conditions is “likely to


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accede to the government’s demand, no matter how unreasonable” so long

as he values the intended use of the property more and thus serve to

prevent “an out-and-out plan of extortion.” Id. at 275 (citation omitted).

     Act 358 fails at both steps. It requires that as a “condition” of

AbbVie agreeing to provide significant discounts and rebates on

medication through programs like 340B and Medicaid, it must now agree

to extend those discounts to for-profit pharmacies in Louisiana. And this

condition remains voluntary, the Attorney General says, because AbbVie

can avoid it by withdrawing from the federal 340B and Medicaid

programs nationwide—thereby impacting every patient in the country

that accesses an AbbVie medication through those programs.

     There cannot be a nexus between AbbVie’s participation in federal

healthcare programs that exclude for-profit pharmacies and Louisiana’s

insistence that AbbVie transfer discounted drugs to those same

pharmacies. Even less so is there a rough proportionality between those

two things. See, e.g., id. at 276. There is no negative impact on Louisiana

from AbbVie agreeing to sell discounted medications through federal

government programs that is remediated by compelled transfers to retail

pharmacies. Yet that is how State frames its compulsory regime. This


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Court should not approve that logic: It is one thing for Congress to set

certain conditions, within reason, on a manufacturer’s participation in

Medicaid. It is something else altogether when a state leverages that

participation to regulate constitutional rights “outside the contours of the

program itself.” Agency for Int’l Dev. v. All. for Open Soc’y Int’l, Inc., 570

U.S. 205, 214-15 (2013).

      Stated plainly, the Fifth Amendment does not permit the State to

wrench property from AbbVie and give it to another private party by

pretending that transfer was a condition of participation in federal

healthcare programs.

      D.    The Regulatory Takings Doctrine Does Not Apply, But
            Even If It Does, AbbVie Still Prevails.

      The district court’s decision to analyze this case as a regulatory

taking, see ROA.1523-ROA.1524, was error because the regulatory-

taking analysis does not apply when a law physically appropriates

property.   In Horne, for example, the Court considered a takings

challenge to a federal regulation requiring raisin farmers to set aside a

percentage of their crop for disposition by a federal agency. The agency

could then do with the raisins what it wished: sell them to private parties,

donate them, release them to other growers, or simply dispose of them.

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Horne, 576 U.S. at 355. Though the raisin farmers retained an interest

in any residual proceeds from sales of the raisins, the Court held this was

a “clear physical taking,” not merely a regulatory restriction on use,

because of the Government took “actual … possession and control” of the

raisins. Id. at 360-62.

     In a similar way, Act 358 does not merely affect the way that

AbbVie uses its own property but requires that AbbVie actually give up

its property to for-profit pharmacies who wish to “acqui[re]” it. That

constitutes a physical taking even if the transfer occurs at the behest of

a state law or under the fiction that a covered entity is the one really

doing the ordering. Act 358 forces AbbVie to transfer its drugs to another

private party, and it thus effects a physical appropriation of private

property.    See Cedar Point, 594 U.S. at 149.              The regulatory-taking

framework is thus inapposite.

     Even if Act 358 does fall within the regulatory-taking framework,

AbbVie satisfies the Supreme Court’s Penn Central test. Under that test,

courts decide whether a regulation of property “goes too far” by

considering (1) the economic impact of the regulation, (2) the extent to

which    the   regulation    has    interfered       with    investment    backed


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expectations, and (3) the “character of the governmental action.” Penn

Central Transp. Co. v. New York City, 438 U.S. 104, 124 (1978).

      First, Act 358 has a significant impact on AbbVie. The law requires

AbbVie to transfer millions of dollars in discounted drugs to commercial

pharmacies or face significant penalties.          Because Act 358 requires

AbbVie to provide its drugs at steeply discounted 340B prices to an

unlimited number of contract pharmacy arrangements, AbbVie will face

the threat of millions of dollars in forced unnecessary discounts each year

as a result of Act 358. See ROA.944 (¶14); ROA.1137.

      Second, Act 358 interferes with AbbVie’s investment-backed

expectations. AbbVie invests in developing and manufacturing lifesaving

drugs to sell them, generating profits that enable further investment into

the development of more lifesaving and life-improving products. See

ROA.75-ROA.76 (¶18). Act 358 interferes with AbbVie’s investment-

backed expectations by compelling AbbVie to transfer them to non-

covered entities for pennies on the dollar.         That necessarily inhibits

AbbVie’s ability to invest in the development of new drugs that improve

patients’ lives.




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     Third, the character of the government action here counsels in

favor of finding a regulatory taking because it “amounts to a physical

invasion” rather than simply “adjusting the benefits and burdens of

economic life to promote the common good.” Lingle, 544 U.S. at 539. Act

358 compels the actual, physical transfer of AbbVie’s private property to

commercial pharmacies—an obligation the 340B Program itself does not

impose. Worse, it offends the fundamental constitutional principle that

the government may not “forc[e] some people alone to bear public burdens

which, in all fairness and justice, should be borne by the public as a

whole.” Penn Central, 438 U.S. at 123 (citation omitted).

     The district court’s analysis went awry when it reasoned that the

“history of the Section 340B program and litigation surrounding it”

suggested that regulations like Act 358 were “foreseeable.” ROA.1524.

In fact, the history cuts the other way. Regulations like Act 358 are

unique in the 33-year history of the 340B program. Indeed, at the time

of Act 358’s enactment, AbbVie had a policy in place of limiting transfer

of 340B drugs to contract pharmacies, while allowing hospital covered

entities to designate one contract pharmacy within 40 miles. And policies

such as AbbVie’s were upheld by federal courts of appeals just recently.


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See Sanofi, 58 F.4th at 706; Novartis, 102 F.4th at 463-64. Further, it is

difficult to imagine how state-based regulation and enforcement of the

340B Program was foreseeable when Congress created the program and

endowed HHS with exclusive enforcement authority. See Astra, 563 U.S.

at 117.

     The district court also erred when it applied Ruckelshaus v.

Monsanto Co., 467 U.S. 986 (1984) to this case. The district court recalled

that in Monsanto, the companies subject to the at-issue regulatory

scheme were on notice of the government’s at-issue practice of publishing

sensitive data, and that precluded any claim by the plaintiffs that the

regulatory scheme interfered with their reasonable investment-backed

expectations. 467 U.S. at 1006-10. But the Supreme Court has warned

against an overly broad reading of Monsanto, and its unique factual and

regulatory context. “A case about conditioning the sale of hazardous

substances on disclosure of health, safety, and environmental

information related to those hazards is hardly on point” for a straight-up

physical appropriation of a manufacturer’s product. Horne, 576 U.S. at

366. Rather, the analysis in Monsanto is generally only relevant to

“government conditions” related to “reasonable health and safety


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inspections.” Cedar Point, 594 U.S. at 161. But Act 358 is not a law

concerning health and safety inspections—it requires the transfer of

discounted products to commercial pharmacies. Any claim that it will

lead to an increase in the availability of prescription drugs for

Louisianans, or require that they pay less for them, has no grounding in

the law’s text or any evidence in the record.

III. INTERVENTION WAS IMPROPER.

     The district court erred in concluding that Louisiana Primary Care

Association was entitled to intervene because the Association does not

have a real interest in this litigation and, even if it did, the Attorney

General adequately represents that interest.

     As an initial matter, the Association has no right to enforce Act 358

or the 340B Program, so it has no interest in the subject matter of this

litigation. The Supreme Court has made clear that the 340B statute

itself forecloses any effort at private enforcement of the Program’s

requirements. See Astra, 563 U.S. at 119, 122. Rather, any complaints

the Association or its members have about manufacturers’ contract-

pharmacy policies must proceed through the federal ADR process. The

Association thus could not file a private suit to implement either statute’s


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requirements.      It accordingly has no interest in this proceeding to

protect.5

       Next, the Association must meet a heightened showing of

inadequacy because it is the State defending Act 358’s constitutionality.

When the State is the party whose representation is said to be

inadequate, this Court requires a heightened showing of inadequacy. See

Hopwood v. State of Texas, 21 F.3d 603, 605 (5th Cir. 1994). That means

Louisiana Primary Care must demonstrate that its “interest is in fact

different from that of the state and that the interested will not be

represented by the state.” Id. (citation omitted). And separately, this

Court has previously observed that “when the party seeking intervention

has the same ultimate objective as a party to the suit, a presumption

arises that its interests are adequately represented, against which the

petitioner must demonstrate adversity of interest, collusion, or

nonfeasance.” Wade, 743 F.2d at 240-41 (citation omitted).

       Under this standard, the Association has not demonstrated that the

State will not adequately represent its purported interests in “this



5   Simply making less money as a result of a policy is the kind of generalized
    economic harm that is insufficient to satisfy Rule 24(a)’s interest requirement.
    See New Orleans Pub. Serv., Inc., 732 F.2d at 470.
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proceeding.” Bush, 740 F.2d at 356. Both the State and the Association

seek to uphold Act 358. And both the State and the Association make the

same essential arguments about the nature of the 340B Program and the

Louisiana law to achieve that end. Indeed, the Association made no claim

in the district court that its objective in this proceeding, or its view of the

controlling law, differ from the State’s.

       Below, the Association made two separate points to show

inadequacy of representation, none of which withstands scrutiny. First,

the Association complained of a Louisiana regulation that works to

prevent duplicate 340B and Medicaid rebates.6 But the Association did

not explain (nor could it) what bearing that regulation has upon the

current proceeding. At most, the Association establishes that it wishes

the State did less to prevent illegal duplicate discounts. That, though,

has zero connection to whether the State can adequately defend Act 358’s

constitutionality.      Second, the Association also complained that the

State has not yet “promulgated rules to implement Act 358” and that the

State has not yet taken any enforcement actions under Act 358. What




6   See La. Dep’t of Health, Bulletin No. 16-9, 340B Policy Clarification (Jan. 6, 2023),
    https://tinyurl.com/av7cyaws.
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the Association did not explain is why these observations (even if they

are true) establish that the State will not adequately represent the

Association’s interest in upholding the constitutionality of Act 358. They

show, at most, that the State’s enforcement priorities differ from the

Association’s. That is insufficient for intervention.

                             CONCLUSION
     The district court’s orders should be reversed.




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                          CERTIFICATE OF SERVICE

     This is to certify that the foregoing brief has been served via the

Court’s CM/ECF filing system in compliance with Rule 25(b) and (c) of

the Federal Rules of Appellate Procedure, on January 9, 2025, on all

registered counsel of record, and has been transmitted to the Clerk of the

Court.

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     This brief complies with the type-volume limitation of FED. R. APP.

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